                            C
                           ite
                        1      d
Fu                        -1 in
   rth T                     5c Ci
      er his                     v0 ty
        re d                        53 of
                       Ar              45 Al
          pr oc           c                     m
            od um           hi
                               ve          D
              uc e                           ec aty
                                  d             id v
                tio nt
                   n is             o n            ed Ab
                    is pr               3/             3/ lya
                      pr ot                12             5/ z
                        oh ec                 /1            18 ov
                           ib te                 8
                              ite d
                                  d by
                                    w c
                                      ith op
                                         ou yr
                                            t p igh
                                                                    Case 1:15-cv-05345-AJN-KHP Document 742 Filed 06/21/18 Page 1 of 2




                                                er t.
                                                   m
                                                     is
                                                       si
                                                         on
                                                            .
                            C
                           ite
                        1      d
Fu                        -1 in
   rth T                     5c Ci
      er his                     v0 ty
        re d                        53 of
                       Ar              45 Al
          pr oc           c                     m
            od um           hi
                               ve          D
              uc e                           ec aty
                                  d             id v
                tio nt
                   n is             o n            ed Ab
                    is pr               3/             3/ lya
                      pr ot                12             5/ z
                        oh ec                 /1            18 ov
                           ib te                 8
                              ite d
                                  d by
                                    w c
                                      ith op
                                         ou yr
                                            t p igh
                                                                    Case 1:15-cv-05345-AJN-KHP Document 742 Filed 06/21/18 Page 2 of 2




                                                er t.
                                                   m
                                                     is
                                                       si
                                                         on
                                                            .
